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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                      LAREDO DIVISION                                                                  ENTERED
                                                                                                                       07/30/2020
                                                                      §
    In re:                                                            §      Chapter 11
                                                                      §
    VOLUSION, LLC1                                                    §      Case No. 20-55082 (DRJ)
                                                                      §
                                        Debtor.                       §
                                                                      §

       INTERIM ORDER UNDER 11 U.S.C. §§ 105, 361, 362, 363, 507 AND 552,
        AND BANKRUPTCY RULES 2002, 4001 AND 9014 (I) AUTHORIZING
DEBTOR TO USE CASH COLLATERAL, (II) GRANTING ADEQUATE PROTECTION
      TO SECURED LENDERS, (III) MODIFYING THE AUTOMATIC STAY,
  (IV) SCHEDULING A FINAL HEARING PURSUANT TO BANKRUPTCY RULE
               4001(b), AND (V) GRANTING RELATED RELIEF
                              (Docket No. 4)

             Upon the motion, dated July 28, 2020 (the “Motion”),2 of the above-captioned debtor and

debtor in possession (the “Debtor”), for entry of this Interim Order under sections 105, 361, 362,

363, 507 and 552 of title 11 of the United States Code, 11 U.S.C. §§ 101, et seq. (as amended, the

“Bankruptcy Code”), Rules 2002, 4001 and 9014 of the Federal Rules of Bankruptcy Procedure

(as amended, the “Bankruptcy Rules”), and the Local Bankruptcy Rules for the Southern District

of Texas (the “Local Rules”), seeking:

                    (I)      authorization for the Debtor, pursuant to sections 105, 361, 362, 363, 507

             and 552 of the Bankruptcy Code, to (i) use “cash collateral,” as such term is defined in

             section 363 of the Bankruptcy Code, and (ii) provide adequate protection to the Secured




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      The Debtor in this chapter 11 case, along with the last four digits of the Debtor’s federal tax identification number,
      is: Volusion, LLC (9037). The Debtor’s service address is: 1835A Kramer Lane, Suite 100, Austin, Texas 78758.
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      Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.
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       Lenders for any diminution in value of their interests in the Prepetition Collateral (as

       defined below), in each case on the terms set forth in this Interim Order;

               (II)     modification of the automatic stay imposed by section 362 of the

       Bankruptcy Code to the extent necessary to implement and effectuate the terms and

       provisions of this Interim Order;

               (III)    to schedule, pursuant to Bankruptcy Rule 4001, an interim hearing (the

       “Interim Hearing”) on the Motion to be held before this Court to consider entry of this

       Interim Order: (a) authorizing the Debtor to use the Cash Collateral; and (b) granting

       adequate protection to the Secured Lenders; and

               (IV)     a waiver of any applicable stay with respect to the effectiveness and

       enforceability of this Interim Order (including a waiver pursuant to Bankruptcy

       Rule 6004(h)).

       The Interim Hearing having been held by this Court on July 30, 2020; and upon the record

made by the Debtor at the Interim Hearing (including, without limitation, the Motion); and this

Court having heard and resolved or overruled all objections to the interim relief requested in the

Motion, and having found that the granting of the relief requested in the Motion on an interim basis

is in the best interests of the Debtor’s estate, its creditors, and other parties in interest; and this

Court having determined that the legal and factual bases set forth in the Motion and at the Interim

Hearing establish just cause for the relief granted herein; and upon all of the proceedings had

before this Court; and after due deliberation and sufficient cause appearing therefor, it is HEREBY

FOUND THAT:




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       1.      Petition Date. On July 27, 2020 (the “Petition Date”), the Debtor filed a voluntary

petition under chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court for the

Southern District of Texas (this “Court”) commencing this chapter 11 case.

       2.      Jurisdiction and Venue. This Court has jurisdiction over the proceeding and the

persons and property affected hereby pursuant to 28 U.S.C. § 1334. Consideration of the Motion

constitutes a core proceeding under 28 U.S.C. § 157(b)(2). Venue for this chapter 11 case and

proceeding on the Motion is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409.

       3.      Committee Formation. A statutory committee of unsecured creditors or equity

security holders, as applicable (if appointed, the “Committee”) has not been appointed in this

chapter 11 case. No trustee or examiner has been appointed in the chapter 11 case.

       4.      Notice. Notice of the Motion, the relief requested therein and the Interim Hearing

was served by the Debtor, whether by facsimile, electronic mail, overnight courier or hand

delivery, on (a) the Office of the United States Trustee for the Southern District of Texas (the “U.S.

Trustee”); (b) entities listed as holding the 20 largest unsecured claims against the Debtor; (c) the

agent under the Debtor’s prepetition credit facility; (d) the Office of the United States Attorney for

the Southern District of Texas; (e) the state attorneys general for states in which the Debtor

conducts business; (f) the Internal Revenue Service; and (g) any party that has requested notice

pursuant to Bankruptcy Rule 2002. Under the circumstances, the notice given by the Debtor of

the Motion, the relief requested therein, and of the Interim Hearing, constitutes due and sufficient

notice thereof and complies with Bankruptcy Rules 2002, 4001(b), (c), and (d). No further notice

of, or hearing on, the relief sought in the Motion is necessary or required.




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       5.      Debtor’s Stipulations. The Debtor admits, stipulates, and agrees to the following:

               (a)     Loan

                      (i)    Pursuant to that certain Amended and Restated Loan Agreement,
               dated November 23, 2016 (as amended, modified, waived, and/or supplemented
               from time to time, the “Loan Documents”), by and among Debtor, Main Street
               Capital Corporation (“Main Street”) and HMS Income Fund, Inc. (“HMS,” and
               together with Main Street, the “Secured Lenders”), senior secured notes due
               January 26, 2020 (the “Secured Notes”) were issued in the principal amount of
               approximately $30.0 million (the “Loan”).

                    (ii)    Main Street served as administrative agent under the Loan
               Documents (the “Administrative Agent”).

                       (iii) The Loan matured on January 26, 2020. As of the Petition Date,
               approximately $28.9 million in principal and approximately $1.4 million in unpaid
               interest was outstanding in respect of the Secured Notes (together, the “Loan
               Obligations”), plus accrued and unpaid interest, which is secured by (the
               “Prepetition Liens”) substantially all of the Debtor’s assets, existing or acquired
               (the “Prepetition Collateral”).

               (b)     The Prepetition Liens are valid, binding, enforceable, non-avoidable and

properly perfected liens on and security interests in the Prepetition Collateral. No portion of the

Loan Obligations or Prepetition Liens is subject to any contest, attack, objection, recoupment,

defense, setoff, counterclaim, avoidance, recharacterization, reclassification, reduction,

disallowance, recovery, or subordination or other challenge pursuant to the Bankruptcy Code or

applicable nonbankruptcy law, provided, however, that the Prepetition Liens shall be subject and

subordinate only to (a) the Carve-Out, (b) the liens and security interests granted to secure the

Adequate Protection Obligations (as defined below), to the extent such liens and security interests

attach to the Prepetition Collateral, and (c) valid, perfected, and unavoidable liens permitted under

the Loan Documents, to the extent such liens are permitted to be senior to the liens of the

Administrative Agent on the Prepetition Collateral pursuant to the terms of the Loan Documents.
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               (c)     The Debtor’s cash, including without limitation, all cash and other amounts

on deposit or maintained in any account or accounts by the Debtor, wherever located, any amounts

generated by the collection of accounts receivable, sale of inventory or other disposition of the

Prepetition Collateral, and any proceeds of the Prepetition Collateral, in each case constitutes “cash

collateral” within the meaning of section 363(a) of the Bankruptcy Code, and thus constitutes the

“Cash Collateral” for purposes of this Interim Order.

               (d)     The initial budget, attached hereto as Exhibit A, was thoroughly reviewed

by the Debtor, its management, and its advisors. The Debtor, its management, and its advisors

believe that such budget and the estimate of administrative expenses due or accruing during the

period covered thereby were developed using reasonable assumptions and based on those

assumptions the Debtor believes there should be sufficient available assets to pay all administrative

expenses due or accruing during the period covered thereby.

       6.      Findings Regarding the Use of Cash Collateral and Prepetition Collateral.

               (a)     Good cause has been shown for the entry of this Interim Order.

               (b)     The Debtor requires access to use the Prepetition Collateral (including the

Cash Collateral), on the terms set forth herein (including in the amount and in the manner set forth

in the Budget (as defined below)), to permit, among other things, the satisfaction of the costs and

expenses of administering this chapter 11 case.

               (c)     The terms of the use of the Prepetition Collateral (including the Cash

Collateral) pursuant to this Interim Order are fair and reasonable, reflect the Debtor’s exercise of

prudent business judgment consistent with its fiduciary duties and constitute reasonably equivalent

value and fair consideration.




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               (d)     The terms of the use of the Prepetition Collateral (including the Cash

Collateral) have been the subject of extensive negotiations conducted in good faith and at arm’s

length among the Debtor, the Secured Lenders and, pursuant to sections 105, 361, and 363 of the

Bankruptcy Code, the Secured Lenders are hereby found to be entities that have acted in “good

faith” in connection with the negotiation and entry of this Interim Order, and each is entitled to the

protection provided under section 363(m) of the Bankruptcy Code on the terms set forth herein.

               (e)     The Debtor requested entry of this Interim Order pursuant to Bankruptcy

Rules 4001(b)(2) and (d). Absent granting the interim relief sought by this Interim Order, the

Debtor’s estate will be immediately and irreparably harmed. The use of the Prepetition Collateral

(including the Cash Collateral) in accordance with this Interim Order is in the best interest of the

Debtor’s estate.

       7.      Consent by the Secured Lenders. Subject to the terms of this Interim Order, the

Secured Lenders consent to the Debtor’s use of the Prepetition Collateral (including the Cash

Collateral) on the terms set forth herein (including as contemplated and limited by the Budget for

the 4-week period provided therein).

NOW, THEREFORE, IT IS HEREBY ORDERED THAT:

       8.      The Motion. The Motion is GRANTED on an interim basis. Any objection to the

Motion, as it pertains to the entry of this Interim Order, to the extent not withdrawn or resolved, is

hereby overruled.

       9.      Authorization of Use of Cash Collateral and Prepetition Collateral.

               (a)     Subject to the terms and conditions set forth in, and in accordance with, this

Interim Order, the Debtor is authorized to use Cash Collateral. Except as expressly permitted in

this Interim Order, nothing in this Interim Order shall authorize the disposition of any assets of the




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Debtor or its estate outside the ordinary course of business, or the Debtor’s use of any Cash

Collateral or other proceeds resulting therefrom.

               (b)    During this chapter 11 case, the Debtor will require access to the Cash

Collateral to fund working capital, general corporate purposes, and administrative costs and

expenses of the Debtor incurred in this chapter 11 case, subject to the terms hereof and in

accordance with a 13-week budget in form and substance acceptable to the Secured Lenders (the

“Budget”). The initial budget, attached hereto as Exhibit A, is the Budget as of the date hereof.

For the avoidance of doubt, the Budget is integral to, and forms a part of, this Interim Order. The

interim four-week budget is binding upon the parties. The 13-week budget is not binding on the

parties and is provided for informational purposes only and is subject to further revisions and the

required approval of the Secured Lenders.

               (c)    Each week, by Thursday at 4:00 p.m. prevailing Central Time, the Debtor

shall deliver to the Administrative Agent an updated, proposed 13-week budget. Each proposed

budget provided to the Administrative Agent shall be of no force and effect unless and until it is

approved, in writing, by the Secured Lenders. Upon approval of such updated budget by the

Secured Lenders, such budget shall become the Budget. Until such approval, the then-existing

Budget shall remain in place.

               (d)    Each week, by Thursday at 4:00 p.m. prevailing Central Time, the Debtor

shall deliver to the Administrative Agent a variance report setting forth the Debtor’s actual cash

flow for the preceding week compared to the Budget. For purposes of this Interim Order, the

Debtor shall ensure that at no time shall any of the following occur: (i) an unfavorable variance

of 10% or more from the “Total Cash Receipts” line item in the Budget, tested every week on a

cumulative weekly basis (to begin on the 2nd week); and (ii) an unfavorable variance of 10% or




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more from the “Total Cash Disbursements” line item in the Budget (exclusive of Restructuring

Fees), tested every week on a cumulative weekly basis (to begin on the 2nd week) (the variances

described in subparts (i) and (ii), each a “Non-Permitted Variance”).

       10.     Adequate Protection Claims and Liens. In addition to all the existing security

interests and liens granted to or for the benefit of the Secured Lenders in and with respect to the

applicable Prepetition Collateral, including the applicable Cash Collateral, as adequate protection

for, and to secure payment of an amount equal to the Collateral Diminution (as defined below),

and as an inducement to the Secured Lenders to permit the Debtor’s use of the Cash Collateral as

provided for in this Interim Order, the Debtor hereby grants, solely to the extent of the Collateral

Diminution:

               (a)     Adequate Protection Claims.       To the Secured Lenders, an allowed

superpriority administrative claim against the Debtor with priority over any and all other

administrative claims against the Debtor now existing or hereafter arising in this chapter 11 case,

including all claims of the kind specified under sections 364(c)(1), 503(b), and 507(b) of the

Bankruptcy Code and otherwise over all administrative expense claims and unsecured claims

against the Debtor and its estate, now existing or hereafter arising, of any kind or nature

whatsoever, (the “Adequate Protection Claims”), which administrative claim shall have recourse

to and be payable from all prepetition and postpetition property of the Debtor; provided, however,

that the Adequate Protection Claims shall be subject and subordinate to the Carve-Out (as defined

below).

               (b)     Adequate Protection Liens. Effective as of the Petition Date and in each

case perfected without the necessity of the execution by the Debtor (or recordation or other filing)

of security agreements, control agreements, pledge agreements, financing statements, mortgages




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or other similar documents, or by possession or control, and in each case subject and subordinate

to the Carve-Out, the following security interests and liens are hereby granted to the Administrative

Agent, for its own benefit and the benefit of the Secured Lenders, all property identified in this

paragraph 10(b) (collectively referred to as the “Adequate Protection Collateral,” and all such liens

and security interests, as the “Adequate Protection Liens”): valid, perfected, and enforceable

replacement liens on and first priority postpetition security interests (the “Replacement Liens”) in

all assets of the Debtor, to the same extent that such liens and security interests existed pre-petition

under the Loan Documents. For avoidance of doubt, any such Replacement Liens shall not attach

to any causes of action and recoveries realized pursuant to chapter 5 of the Bankruptcy Code for

the purposes of this Interim Order. The Replacement Liens shall at all times be senior to (i) the

rights of the Debtor and any successor trustee or estate representatives in this chapter 11 case, and

(ii) any security interest or lien of any creditor or other party in interest in this chapter 11 case

other than pre-existing liens senior to those of the Secured Lenders as of the Petition Date or as set

forth in this Interim Order, provided, however, that any existing retainers held by estate

professionals on the Petition Date shall only be subject to the Replacement Liens to the extent they

are not fully utilized by such estate professionals for payment of fees and costs approved by this

Court pursuant to 11 U.S.C. § 330. Subject to the Carve-Out, to the extent granted by any

subsequent interim or final order, and any Chapter 5 causes of action, the Debtor further grants an

administrative superpriority expense claim for the Secured Lenders in the amount of the Collateral

Diminution.

               (c)     “Collateral Diminution” means an amount equal to the diminution of the

value of the Secured Lenders’ interests in the Prepetition Collateral from and after the Petition

Date for the use, sale, or lease of Prepetition Collateral (including Cash Collateral), subordination




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to the Carve-Out, and other decline in value arising out of the imposition of the automatic stay (the

“Adequate Protection Obligations”).

       11.     Reporting. During the period that this Interim Order is in effect, the Debtor shall

provide the following to the Secured Lenders:

               (a)     promptly, but in any event no later than the Friday of each calendar week

(or, if such date is not a business day, the immediately preceding business day), a weekly report

as of the last day of the preceding calendar week, in form and detail reasonably acceptable to the

Secured Lenders, of all written demands or claims related to or asserting any liens against or

challenges to title in respect of property or assets of Debtor (including liens imposed by law, such

as landlords’, vendors’, suppliers’, carriers’, warehousemen’s, repairmen’s, construction

contractors’, workers’ and mechanics’ and other similar liens);

               (b)     on a bi-weekly basis, a report of the Debtor’s (i) aged accounts receivable

and (ii) accounts payable listings as of the end of the preceding two (2) weeks consistent with the

Debtor’s historic past practices, in form and detail reasonably acceptable to the Secured Lenders.

For the avoidance of doubt, each of (i) and (ii) shall be provided within seven (7) days following

the end of the previous two-week period;

               (c)     such other reports and information as the Secured Lenders may reasonably

request.

       12.     Disposition of Collateral. The Debtor may sell, transfer, lease or use Debtor’s

inventory in the ordinary course of its business. Until such time as the Loan Obligations have been

paid in full in accordance with the terms of the applicable Loan Documents, the Debtor shall remit,

or cause to be remitted to the Administrative Agent, all proceeds of Prepetition Collateral, that are

obtained outside the ordinary course of business, for application against the Loan Obligations in




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accordance with the terms of the applicable Loan Documents and this Interim Order unless the

Secured Lenders consent to a different allocation of such proceeds. The Debtor shall not use, sell

or lease any material assets outside the ordinary course of business, or seek authority of the Court

to do any of the foregoing, without the prior consent of the Secured Lenders.

       13.     Priority of Adequate Protection Liens and Adequate Protection Claims. Except to

the extent of the Carve-Out, the Adequate Protection Liens and Adequate Protection Claims

granted to the Secured Lenders pursuant to paragraphs 10(a) and 10(b) of this Interim Order shall

not be subject or junior to any lien or security interest that is avoided and preserved for the benefit

of the Debtor’s estate under section 551 of the Bankruptcy Code and shall not be subordinated to

or made pari passu with any lien, security interest or administrative claim under sections 363 or

364 of the Bankruptcy Code or otherwise; and the Debtor shall not create, incur or suffer to exist

any postpetition liens or security interests other than: (i) those granted pursuant to this Interim

Order; (ii) carriers’, mechanics’, operators’, warehousemen’s, repairmen’s or other similar

ordinary course liens arising in the ordinary course of business; (iii) pledges and deposits in

connection with workers’ compensation, unemployment insurance and other social security

legislation; (iv) deposits to secure the payment of any postpetition statutory obligations and

performance bonds; and (v) such other liens or security interests existing as of the Petition Date

that are permissible under the Loan Documents; provided, that (x) the Debtor shall provide prompt

notice to the Administrative Agent of any postpetition liens or security interests on Prepetition

Collateral or Adequate Protection Collateral that have a value of $5,000 or more separately or in

the aggregate. The Debtor admits, stipulates, and agrees that, as of the Petition Date, it is not aware

of any liens or security interests that fit within the purview of subpart (v) of the preceding sentence.




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        14.      Carve-Out. As used in this Interim Order, the “Carve-Out” means the sum of (i) all

fees required to be paid to the Clerk of the Court and to the Office of the U.S. Trustee under section

1930(a) of title 28 of the United States Code plus interest at the statutory rate, (ii) to the extent

allowed at any time, whether by interim order, procedural order, or otherwise, all unpaid fees and

expenses incurred by persons or firms retained by the Debtor pursuant to section 327, 328, or 363

of the Bankruptcy Code through the Termination Date (as defined below), and (iii) any claim for

indemnification asserted by any member of the Board of Managers.

        15.      Payment of Compensation. Nothing herein shall be construed as consent to the

allowance of any professional fees or expenses of the Debtor, any Committee, or of any person, or

shall affect the rights of the Secured Lenders to object to the allowance and payment of such fees

and expenses or to permit the Debtor to pay any such amounts.

        16.      Termination.

                 (a)      Optional Termination Events. Upon the occurrence of any of the following

events, and upon three (3) business days following the delivery of a written notice by the Secured

Lenders to (i) the Office of the U.S. Trustee, (ii) the Debtor and proposed counsel to the Debtor,

Jackson Walker L.L.P., 1401 McKinney Street, Suite 1900, Houston, Texas 77010

(Attention: Matthew D. Cavenaugh) and (ii) counsel to the Committee (if any) of the occurrence

of any of the below listed events, unless cured by the Debtor or waived by the Secured Lenders,

the Debtor’s consensual use of the Cash Collateral may be terminated (collectively, the “Optional

Termination Events”):3

                        (i)     the failure by the Debtor to make any payment required under this
                 Interim Order as and when due;


3
    Wherever applicable in this Interim Order, any consent by the Secured Lenders (whether for the extension of
    time or otherwise) shall be effective without further order of the Court.



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                     (ii)    the failure by the Debtor to comply with any covenant, agreement,
              or provision of this Interim Order, including, without limitation, timely delivery to
              the Committee of any of the documents or other information required to be
              delivered pursuant to this Interim Order or in the event such document or other
              information contains a material misrepresentation;

                      (iii) Debtor uses Cash Collateral to fund any payments in respect of
              prepetition claims other than (i) as permitted under this Interim Order, (ii) in
              accordance with, and solely to the extent authorized by, a “first day” or “second
              day” order that is consistent with the draft of such order provided to the Secured
              Lenders before the filing of such matter, or (iii) as otherwise expressly
              contemplated by the Budget or an order acceptable to the Secured Lenders;

                      (iv)   the occurrence of a Non-Permitted Variance;

                     (v)     the Debtor shall create, incur or suffer any other claim which is pari
              passu with or senior to the Adequate Protection Claims;

                      (vi)   a filing by any party of any motion, pleading, application or
              adversary proceeding challenging the validity, enforceability, perfection, or priority
              of the liens securing the Loan Obligations, Adequate Protection Obligations, or
              asserting any other cause of action against the Secured Lenders and/or with respect
              to the Loan Obligations, Adequate Protection Obligations, the Prepetition
              Collateral securing the Loan Obligations, or the Adequate Protection Collateral
              securing the Adequate Protection Obligations, or against any of the Secured
              Lenders (or if the Debtor supports any such motion, pleading, application or
              adversary proceeding commenced by any third party);

                     (vii) the Debtor shall create, incur or suffer to exist any postpetition liens
              or security interests not otherwise permitted by this Interim Order (it being
              understood that any postpetition lien or security interest arising under or related to
              section 364 of the Bankruptcy Code are not otherwise permitted by this Interim
              Order), unless such postpetition liens or security interests have a value less than
              $5,000 in the aggregate at any one time.

              (b)     Automatic Termination Events. The Debtor’s consensual use of the Cash

Collateral shall terminate automatically upon the occurrence of any of the following events (the

“Automatic Termination Events” and, together with the Optional Termination Events, the

“Termination Events”):

                     (i)    entry of an order dismissing or converting this Chapter 11 case to a
              case under chapter 7 of the Bankruptcy Code;




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                     (ii)    entry of an order charging any of the Prepetition Collateral or
               Adequate Protection Collateral under sections 506(c) or 552(b) of the Bankruptcy
               Code or any other principle in law or equity;

                       (iii) entry of an order (or orders) granting relief from the automatic stay
               imposed by section 362 of the Bankruptcy Code providing relief to any entity (or
               entities) other than the Secured Lenders in an amount greater than $50,000 in the
               aggregate with respect to the Prepetition Collateral or the Adequate Protection
               Collateral without the written consent of the Secured Lenders;

                       (iv)    entry of an order mandating the appointment or election of a trustee,
               examiner with expanded powers or any other representative with expanded powers
               relating to the operation of the Debtor’s business in this chapter 11 case;

                     (v)      The entry of an order reversing, staying or otherwise modifying in
               any way the terms of this Interim Order.

       17.     Remedies upon Occurrence of the Termination Date. The Debtor shall promptly

provide notice to the Administrative Agent (with a copy to counsel for the Committee (if any) and

the U.S. Trustee) upon the occurrence of any acts or omissions that may give rise to a Termination

Event. Upon the occurrence of (a) with respect to the Optional Termination Events, the date upon

which such Optional Termination Event becomes effective, after taking into account the applicable

cure or waiver period, if any, and (b) with respect to the Automatic Termination Events, the date

upon which such Automatic Termination Event becomes effective (such date described in (a) and

(b), the “Termination Date”), in order to exercise remedies, the Secured Lenders shall be required

to file a motion with the Court seeking emergency relief from the automatic stay on at least five

(5) business days’ written notice to counsel to the Debtor, counsel to any Committee (if appointed),

and the U.S. Trustee of the Secured Lenders’ intent to exercise its rights and remedies (the

“Remedies Notice Period”); provided, however, that during the Remedies Notice Period, the

Debtor and the Committee may seek an emergency hearing before the Court to contest solely

whether a Default has occurred.




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       18.     Reservation of Rights. Notwithstanding any other provision hereof, the grant of

adequate protection to the Secured Lenders pursuant hereto is without prejudice to the right of the

Secured Lenders to seek modification of the grant of adequate protection provided hereby so as to

provide different or additional adequate protection. Nothing herein shall be deemed to waive,

modify or otherwise impair the respective rights of the Secured Lenders, under the Loan

Documents or in equity or law, and the Secured Lenders expressly reserve all of their respective

rights and remedies whether now existing or hereafter arising under the Loan Documents and/or

equity or law in connection with all Termination Events and Defaults (as defined in the Loan

Documents and whether arising prior to or after the Petition Date). The entry of this Interim Order

and the grant of adequate protection to the Secured Lenders shall be without prejudice to the rights

of the Debtor to, following the occurrence of the Termination Date, seek authority to use Cash

Collateral without the consent of the Secured Lenders.

       19.     Modification of Automatic Stay. The automatic stay imposed by section 362(a) of

the Bankruptcy Code is hereby modified to permit (a) the Debtor to grant the Adequate Protection

Liens and the Adequate Protection Claims, and to take all appropriate action to ensure that the

Adequate Protection Liens granted thereunder are perfected and maintain the priority set forth

herein, (b) the Debtor to pay all amounts referred to, required under, in accordance with, and

subject to this Interim Order, and (c) the implementation of the terms of this Interim Order.

       20.     Perfection of Adequate Protection Liens.

               (a)     This Interim Order shall be sufficient and conclusive evidence of the

validity, perfection, and priority of all liens granted herein, including the Adequate Protection

Liens without the necessity of filing or recording any financing statement, mortgage, notice, or

other instrument or document which may otherwise be required under the law or regulation of any




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jurisdiction or the taking of any other action (including, for the avoidance of doubt, entering into

any deposit account control agreement, real property mortgage or security agreement) to validate

or perfect (in accordance with applicable non-bankruptcy law) the Adequate Protection Liens, or

to entitle the Secured Lenders to the priorities granted herein.

               (b)     Notwithstanding the foregoing, the Administrative Agent, acting on behalf

of the Secured Lenders, is hereby authorized, but not required, to file or record financing

statements, intellectual property filings, mortgages, notices of lien or similar instruments in any

jurisdiction in order to validate and perfect the liens and security interests granted to it hereunder.

Whether or not the Administrative Agent shall, in its sole discretion, choose to file such financing

statements, intellectual property filings, mortgages, notices of lien or similar instruments, such

liens and security interests shall be deemed valid, perfected, allowed, enforceable, non-avoidable

and not subject to challenge, dispute or subordination as of the date of entry of this Interim Order.

If the Administrative Agent determines to file any financing statements, notice of liens or similar

instruments, the Debtor will cooperate and assist in any such filings as reasonably requested by

the Administrative Agent, and the automatic stay shall be modified to allow such filings.

               (c)     A certified copy of this Interim Order may, in the discretion of the

Administrative Agent acting on behalf of the Secured Lenders, be filed with or recorded in filing

or recording offices in addition to or in lieu of such financing statements, mortgages, notices of

lien or similar instruments, and all filing offices are hereby authorized to accept such certified copy

of this Interim Order for filing and recording.

               (d)     The Debtor shall execute and deliver to the Administrative Agent all such

agreements, financing statements, instruments and other documents as such agent may reasonably

request to evidence, confirm, validate or perfect the applicable Adequate Protection Liens.




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                (e)    Effective upon entry of a final order, any provision of any lease or other

license, contract or other agreement that requires (i) the consent or approval of one or more

landlords or other parties or (ii) the payment of any fees or obligations to any governmental entity,

in order for Debtor to pledge, grant, sell, assign, or otherwise transfer any such leasehold interest,

or the proceeds thereof, or other collateral related thereto, is hereby deemed to be inconsistent with

the applicable provisions of the Bankruptcy Code. Any such provision shall have no force and

effect with respect to the granting of Adequate Protection Liens on such leasehold interest or the

proceeds of any assignment and/or sale thereof by Debtor in favor of the Secured Lenders in

accordance with the terms of the Loan Documents or this Interim Order.

       21.      Reversal, Stay, Modification or Vacatur. If any or all of the provisions of this

Interim Order are hereafter reversed, modified, vacated, or stayed, such reversal, stay,

modification, or vacatur shall not affect the rights and priorities of the Secured Lenders granted

pursuant to this Interim Order. Notwithstanding any such reversal, stay, modification or vacatur,

any use of the Prepetition Collateral (including the Cash Collateral) or any Adequate Protection

Obligations incurred, or Adequate Protection Liens granted, by Debtor (as applicable) hereunder,

as the case may be, prior to the actual receipt of written notice by the Administrative Agent of the

effective date of such reversal, stay, modification or vacatur shall be governed in all respects by

the original provisions of this Interim Order, and the Secured Lenders shall be entitled, as

applicable, to all of the rights, remedies, privileges and benefits granted in section 363(m) of the

Bankruptcy Code with respect to all applicable uses of the Prepetition Collateral (including the

Cash Collateral) and all Adequate Protection Obligations and Adequate Protection Liens, as set

forth herein.




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       22.     Binding Effect; Successors and Assigns. Except as otherwise expressly set forth

herein, the provisions of this Interim Order, including all findings herein, shall be binding upon all

parties in interest in this chapter 11 case, including, without limitation, the Secured Lenders, any

Committee, and the Debtor and its respective successors and assigns (including any Trustee

hereinafter appointed or elected for the estate of the Debtor, an examiner appointed pursuant to

section 1104 of the Bankruptcy Code, or any other fiduciary appointed as a legal representative of

the Debtor or with respect to the property of the estate of the Debtor) and shall inure to the benefit

of the Secured Lenders and the Debtor and their respective successors and assigns, provided that,

except to the extent expressly set forth in this Interim Order, the Secured Lenders shall have no

obligation to permit the use of the Prepetition Collateral (including the Cash Collateral) or extend

any financing to any Trustee or similar responsible person appointed for the estate of Debtor.

       23.                                                          13 2020 at _____
               Final Hearing. The Final Hearing, is set for August ___,         3:15 p__m.

(prevailing Central Time) before this Court. Any party in interest objecting to the relief sought at

the Final Hearing shall file and serve written objections upon: (a) the Debtor, 1835A Kramer Lane,

Suite 100, Austin, Texas 78758; (b) proposed counsel to the Debtor, Jackson Walker L.L.P., 1401

McKinney Street, Suite 1900, Houston, Texas 77010 (Attention: Matthew D. Cavenaugh);

(c) counsel to the Secured Lenders, Cole Schotz P.C., 301 Commerce Street, Suite 1700, Fort

Worth, TX 76102 (Attention: Michael D. Warner); (d) the Office of the U.S. Trustee, 515 Rusk

Street, Suite 3516, Houston, Texas 77002; (e) the entities on the Consolidated List of Creditors

Holding the 20 largest unsecured claims filed pursuant to Bankruptcy Rule 1007(d) or counsel to

any statutory committee appointed in this chapter 11 case; and (f) all parties entitled to notice

pursuant to Local Rule 9013, in each case to allow actual receipt by the foregoing no later than

        6
August ______, 2020 at 4:00 p.m. (prevailing Central Time). Any objection shall set forth in




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writing and with particularity the factual and legal bases of the objection. If no objections are filed

to the Motion, the Court may enter the Final Order without further notice or hearing.

       24.     Survival.

               (a)     The provisions of this Interim Order and any actions taken pursuant hereto

shall survive entry of any order which may be entered (i) confirming any plan of reorganization in

any of this chapter 11 case, (ii) converting this chapter 11 case to a case under chapter 7 of the

Bankruptcy Code, (iii) dismissing this chapter 11 case or any successor case, or (iv) pursuant to

which this Court abstains from hearing this chapter 11 case or any successor case.

               (b)     The terms and provisions of this Interim Order, including the claims, liens,

security interests, and other protections (as applicable) granted to the Secured Lenders, pursuant

to this Interim Order, notwithstanding the entry of any such order, shall continue in this case, in

any successor case, or following dismissal of this case or any successor case, and shall maintain

their priority as provided by this Interim Order until all of the Loan Obligations and the Adequate

Protection Obligations have been indefeasibly paid in full. The terms and provisions concerning

the releases of the Secured Lenders shall continue in this chapter 11 case, in any successor case,

following dismissal of this chapter 11 case or any successor case, termination of this Interim Order,

and/or the indefeasible repayment of the Loan Obligations and the Adequate Protection

Obligations.

       25.     No Third-Party Rights. Except as explicitly provided for herein, this Interim Order

does not create any rights for the benefit of any third party, creditor, equity holder, or any direct,

indirect, or incidental beneficiary.




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       26.     Controlling Effects of Interim Order. To the extent any provision of this Interim

Order conflicts or is inconsistent with any provision of the Motion, the provisions of this Interim

Order shall control.

       27.     Effectiveness. This Interim Order shall constitute findings of fact and conclusions

of law and shall take effect immediately upon entry hereof, and there shall be no stay of execution

of effectiveness (including, without limitation, under Bankruptcy Rule 6004(h)) of this Interim

Order. To the extent that any finding of fact shall be determined to be a conclusion of law, it shall

be so deemed and vice versa.

       28.     Headings. The headings in this Interim Order are for purposes of reference only

and shall not limit or otherwise affect the meaning of this Interim Order.

       29.     Effect of this Interim Order. This Interim Order shall constitute findings of fact and

conclusions of law pursuant to Bankruptcy Rule 7052 and shall take effect and be enforceable

effective as of the Petition Date immediately upon entry hereof.

       30.     Jurisdiction. This Court shall retain jurisdiction to enforce the terms of this

Interim Order and to adjudicate any and all matters arising from or related to the interpretation or

implementation of this Interim Order.




    Signed:
 Dated:     July 30, 2020. 2020
        __________________,
                                                  ____________________________________
                                               DAVID R. JONES
                                               UNITED
                                           DAVID       STATES BANKRUPTCY JUDGE
                                                 R. JONES
                                           CHIEF UNITED STATES BANKRUPTCY JUDGE




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                            Exhibit A

                          28 Day Budget
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Volusion, LLC
DIP Cash Flow Forecast
July 28, 2020


                                                            Short-Term Cash Flow Forecast ($000s)
                                          Forecast Forecast Forecast Forecast Forecast Forecast Forecast Forecast Forecast Forecast Forecast Forecast Forecast                           Forecast
Week                                         1        2         3        4        5          6       7       8        9       10       11       12       13                                Total
Week-Ending                                2-Aug    9-Aug    16-Aug 23-Aug 30-Aug         6-Sep   13-Sep  20-Sep   27-Sep   4-Oct    11-Oct   18-Oct   25-Oct                            13-Weeks
Cash Receipts
Credit Card Receipts:                        $570     $138      $695        $500      $490        $484      $651        $494      $495        $485      $651        $493      $494         $6,639
Other Checks and Receipts:                      11       39        9           9         9           39        9           9         9           39        9           9         9            207
Transfers In & Funding:                       -        -         -           -         -           -         -           -         -           -         -           -         -              -
  Total Cash Receipts                         580      177       704         508       499         523       660         503       503         524       660         502       503          6,846
Cash Disbursements
Payroll                                       -        559             0      534            0      534            0      534            0      534            0      534       -           3,231
Payroll Benefits                              -        160            40      -             40      120           40      -             40      120           40      -             40        640
Monthly Commissions and Bonuses               -        -              25      -         -           -             25      -         -           -             25      -         -              75
Credit Card Payments                          -        -          -           151       -           -         -           221       -           -         -           186       -             557
Equipment                                     -           4            1      -         -              4           1      -         -              4           1      -         -              16
Insurance                                     -        -          -           100       -           -         -           -         -           -         -           -         -             100
Rent                                          -        -              71      -         -             71      -           -         -             71      -           -         -             213
Utilities                                     -          21           11        13       9            61       11           11       11           11       11           11       11           193
Google Cloud Platform                         -        -          -           217      -            -        -            217      -            -        -            217      -              651
Other AP Payments                             -        -           41         549      172          203      152          126      159          202      160          128      163          2,055
PO's                                          -        -         -            -        -            200      -            -        -            200      -            -        -              400
Taxes                                         -        -         -            -        -              50     -            -        -              50     -            -        -              100
US Trustee Fees                               -        -         -            -        -            -        -            -        -              13     -            -        -               13
Restructuring Fees - Debtor Related           -        -         -            -        263          188        60           60       60         128        60         310        60         1,189
Restructuring Fees - Creditor Related         -        -         -            -        -            150      -            -        -            125      -            -        -              275
  Total Cash Disbursements                    -        744       190        1,564      485        1,581      290        1,169      270        1,459      298        1,386      274          9,708
Net Cash Flow                                 580      (567)     514       (1,055)          14   (1,058)     370         (666)     233         (934)     362         (884)     229          (2,862)
Beginning Cash Balance                      7,401     7,981     7,414       7,928     6,872       6,886     5,828       6,198     5,532       5,766     4,831       5,194     4,310         7,401
Ending Cash Balance                        $7,981    $7,414    $7,928      $6,872    $6,886      $5,828    $6,198      $5,532    $5,766      $4,831    $5,194      $4,310    $4,539        $4,539
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Volusion, LLC
DIP Cash Flow Forecast
July 28, 2020


                      Short-Term Cash Flow Forecast ($000s)
                                         Forecast Forecast Forecast Forecast       Forecast
Week                                        1         2        3       4             Total
Week-Ending                               2-Aug     9-Aug   16-Aug 23-Aug          4-Weeks
Cash Receipts
Credit Card Receipts:                      $570      $138     $695        $500       $1,902
Other Checks and Receipts:                    11        39       9           9            67
Transfers In & Funding:                     -         -        -           -            -
  Total Cash Receipts                       580       177      704         508        1,969
Cash Disbursements
Payroll                                      -        559            0      534       1,093
Payroll Benefits                             -        160           40      -           200
Monthly Commissions and Bonuses              -        -             25      -            25
Credit Card Payments                         -        -         -           151         151
Equipment                                    -           4           1      -              5
Insurance                                    -        -         -           100         100
Rent                                         -        -             71      -             71
Utilities                                    -          21          11        13          46
Google Cloud Platform                        -        -         -           217         217
Other AP Payments                            -        -             41      549         590
PO's                                         -        -        -            -           -
Taxes                                        -        -        -            -           -
US Trustee Fees                              -        -        -            -           -
Restructuring Fees - Debtor Related          -        -        -            -           -
Restructuring Fees - Creditor Related        -        -        -            -           -
  Total Cash Disbursements                   -        744      190        1,564       2,498
Net Cash Flow                               580      (567)     514       (1,055)       (529)
Beginning Cash Balance                     7,401    7,981     7,414       7,928       7,401
Ending Cash Balance                       $7,981   $7,414    $7,928      $6,872      $6,872
